                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
vs.                                           )        Case No. 15-05012-01-CR-SW-RK
                                              )
CHANDRA L. CURLS,                             )
                                              )
                       Defendant.             )

                                             ORDER

       On November 23, 2015, defendant entered a plea of guilty to Count One of the
Indictment before United States Magistrate Judge James C. England. On November 23, 2015,
Judge England issued his Report and Recommendation (Doc. 98).
       Upon careful and independent review, this Court finds that defendant’s plea was
knowledgeable and voluntary and that the offense charged is supported by an independent basis
in fact containing each of the essential elements of such offense. Accordingly, this Court hereby
adopts and incorporates as its own Opinion and Order the Report and Recommendation of
United States Magistrate Judge James C. England.
       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and
defendant is adjudged guilty. The defendant’s sentencing hearing will be scheduled and the
parties notified of the date and time of sentencing.
       SO ORDERED.

                                              s/ Roseann A. Ketchmark
                                              ROSEANN A. KETCHMARK, JUDGE
                                              UNITED STATES DISTRICT COURT

DATED: December 11, 2015




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